Case 2:04-cr-20448-STA Document 106 Filed 08/18/05 Page 1 of 2 PagelD 108

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UN|TED STATES OF ANlEFt|CA
Plaintiff,
VS. CFt. NO. 04-20448-01-B

NIOM| JENN|FER JA|V|ES,
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETT|NG

 

This cause came onto loe heard on August 18, 2005, the United States Attorney for
this district, Tony Arvin, appearing for the Government and the defendant, Niomi Jennifer
James, appearing in person and with counsel, l\/lary C. Jermann, who represented the
defendant.

With leave of the Court, the defendant Withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the |ndictment.

Plea colloquy Was held and the Court accepted the guilty plea.

SENTENClNG in this case is SET for WEDNESDAY, NOVEN|BER 23, 2005, at
9: 00 A. Nl., before Judge J. Danie| Breen.

Defendant is remanded to the custody of the U. S. Marsha|.

ENTERED thisthe Lg_mday or August, 2005.

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This notice confirms a copy of the document docketed as number 106 in
case 2:04-CR-20448 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

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Honorable J. Breen
US DISTRICT COURT

